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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

ZACHARY SUCCOW, ET AL                         :             No. 3:25-cv-00250-SVN
         Plaintiff                            :
                                              :
             v.                               :
                                              :
PAMELA J. BONDI, ET AL                        :
           Defendants                         :             JUNE 13, 2025

      State Defendants’ Motion to Dismiss the Organization Plaintiffs

      Pursuant to Rule 12(b)(1), the State Defendants, Ronnell Higgins, Margaret A.

Kelly, and Paul J. Narducci, move to dismiss the claims of the Organization Plaintiffs,

Connecticut Citizens Defense League, Inc. (CCDL) and Second Amendment

Foundation, Inc. (SAF), on the grounds that these organizations lack standing

because (1) the harm they allege—a diversion of organization resources—is

insufficient as a matter of law, and (2) they cannot, as a matter of law, bring a civil

rights claim under 42 U.S.C. § 1983.

                                        STATE DEFENDANTS,

                                        RONNELL HIGGINS, MARGARET A.
                                        KELLEY AND PAUL J. NARDUCCI

                                 BY:    /s/Blake T. Sullivan
                                        Blake T. Sullivan (ct30289)
                                        Timothy J. Holzman (ct30420)
                                        James M. Belforti (ct30449)
                                        Assistant Attorney General
                                        Office of the Attorney General
                                        165 Capitol Avenue, 5th Floor
                                        Tel.: (860) 808-5020
                                        Fax: (860) 808-5347
                                        Blake.Sullivan@ct.gov
                                        Timothy.Holzman@ct.gov
                                        James.Belforti@ct.gov




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                            CERTIFICATE OF SERVICE

       I hereby certify that on June 13, 2025, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice

of this filing will be sent by e-mail to all parties by operation of the Court’s electronic

filing system or by mail to anyone unable to accept electronic filing. Parties may

access this filing through the Court’s system.



                                                 /s/Blake T. Sullivan
                                                 Blake T. Sullivan
                                                 Assistant Attorney General




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